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Pro Se 7 (Rev. 12/16) Complaint for Employment Discrimination

~ UNITED STATES DISTRICT COURT _

roth QWOre

~ Plaintiff(s)
(Write the full name of each plaintiff who is filing this complaint.
Uf the names of all the plaintiffs cannot fit in the space above,
please write “see attached" in the space and attach an additional
page with the full list of names.)

-V-

 

Defendant(s)
(Write the full name of each defendant who is being sued. If the
names of all the defendants cannot fit in the space above, please
write “see attached” in the space and attach an additional page
with the full list of names.)

 

 

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CaseNo. 8:1 @-Cy- 2 Wo- F356 SPF

(to be filled in by the Clerk’s Office)

Jury Trial: (check one) Kes CJ No

COMPLAINT FOR EMPLOYMENT DISCRIMINATION

I. The Parties to This Complaint
A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

needed.
Name
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address

B. The Defendant(s)

 

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Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation. For an individual defendant,

A include the person’s job or title (ifknown). Attach additional pages if needed.

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Pro Se 7 (Rev. 12/16) Complaint for Employment Discrimination

Defendant No. 1

Name V todo bot dol

 

 

 

Job or Title (if known) Sem ML) (Vso
Street Address 4 6 lL . c + ahyeo
City and County — Aapjlhaxy> nS

 

State and Zip Code

acl, 1222 ge Ky

Telephone Number Gu\- (ab = } y L

E-mail Address (if known) YH 2M . ® wo @ .
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Defendant No. 2

Name Vener Hos t .
Job or Title (ifknown) ©) Urea tor Oh MNdone FA yrs wo

Street Address
City and County
State and Zip Code
Telephone Number

E-mail Address (if known) (yen A @

 

 

 

 

 

Defendant No. 3

Name bay U fir. Lee A *
J ob or Title (if known) oO CecevmntarSf

Street Address
City and County
State and Zip Code
Telephone Number

 

 

 

 

E-mail Address (if known)

 

Defendant No. 4
Name sme, Qh rche
Job or Title (if known) | ; ' ,
Street Address . Leercleey MA eae f,
City and County L
State and Zip Code
Telephone Number
E-mail Address (if known)

 

 

 

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“Wann Sohn _

 

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Pro Se 7 (Rev. 12/16) Complaint for Employment Discrimination

 

Cc, Place of Employment

The address at which I sought employment or was employed by the defendant(s) is

Name rc 12 ot Baptts Chutes
Street Address j bbs M4Gin Sheet

oT e

City and County Sin aL, Sy rionuder F¥zBSY

State and Zip Code

 

 

Telephone Number Gq y|-—23 45 —"~ 2 SAC

Il. Basis for Jurisdiction

This action is brought for discrimination in employment pursuant to (check all that apply):

ot Title VII of the Civil Rights Act of 1964, as codified, 42 U.S.C. §§ 2000e to 2000e-17 (race,

color, gender, religion, national origin).

(Note: In order to bring suit in federal district court under Title VII, you must first obtain a
Notice of Right to Sue letter from the Equal Employment Opportunity Commission.)

Age Discrimination in Employment Act of 1967, as codified, 29 U.S.C. §§ 621 to 634.

(Note: In order to bring suit in federal district court under the Age Discrimination in
Employment Act, your must first file a charge with the Equal Employment Opportunity
Commission.)

Americans with Disabilities Act of 1990, as codified, 42 U.S.C. §§ 12112 to 12117.

(Note: In order to bring suit in federal district court under the Americans with Disabilities
Act, you must first obtain a Notice of Right to Sue letter from the Equal Employment
Opportunity Commission.)

Other federal law (specify the federal law):

\ Gk MOL a ptadgol

Relevant state law (specifi, if known):

 

 

 

Relevant city or county law (specify, if known):

 

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It.

Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
involved and what each defendant did that caused the plaintiff harm or violated the plaintiff's rights, including
the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.

A.

B.

Cc.

D.

E.

The discriminatory conduct of which I complain in this action includes (check all that apply):

Failure to hire me.

C)
a Termination of my employment.
iM Failure to promote me.
Failure to accommodate my disability.
Wo Unequal terms and conditions of my employment.
We Retaliation. r
a Other acts (specify): Sean, Llsek \ Nadler + Moy ay
(Note: Only those grounds raised in the charge filed with the Equal Employment

Opportunity Commission can be considered by the federal district court under the
federal employment discrimination statutes.)

 

It is my best recollection that the alleged discriminatory acts occurred on date(s) Qh key \

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is/are still committing these acts against me.

CO is/are not still committing these acts against me.
,

Defendant(s) discriminated against me based on my (check all that apply and explain):

race

 

color

 

gender/sex

 

religion

 

national origin

 

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age (year of birth) (only when asserting a claim of age discrimination.)

disability or perceived disability (specify disability)

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Page 4 of 6 ‘ J

 

The facts of my case are as follows. Attach additional pages if needed.
Case 8:19-cv-02916-MSS-SPF Document1 Filed 11/25/19 Page 6 of 11 PagelD 6

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4 Pro Se 7 (Rev. 12/16) Complaint for Employment Discrimination

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(Note: As additional support for the facts of your claim, you may attach to this complaint a copy of
your charge filed with the Equal Employment Opportunity Commission, or the charge filed with the
relevant state or city human rights division.)

IV. Exhaustion of Federal Administrative Remedies

A. It is my best recollection that I filed a charge with the Equal Employment Opportunity Commission or
my Equal Employment Opportunity counselor regarding the defendant's alleged discriminatory conduct

on (date) > Qo Wer 3 rec On 2015 ret Boothe.

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B. The Equal Employment Opportunity Commission (check one):
CO has not issued a Notice of Right to Sue letter.
WY issued a Notice of Rightto Sue letter, which I received on (date) Ety,

(Note: Attach a copy of the Notice of Right to Sue letter from the Equa
Opportunity Commission to this complaint.)

  

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C. Only litigants alleging age discrimination must answer this question.

Since filing my charge of age discrimination with the Equal Employment Opportunity Commission
regarding the defendant's alleged discriminatory conduct (check one):

C) 60 days or more have elapsed.
C] less than 60 days have elapsed.

V. Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include the
amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any punitive
or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or pun

money damages. 9 am Qeo Korn Me Rag | Aemaga AM wh
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VI. Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

A. For Parties Without an Attorney
I agree to provide the Clerk’s Office with any changes to my address where case—related papers may be

served. I understand that my failure to keep a current address on file with the Clerk’s Office may result
in the dismissal of my case.

Date of signing: \ \ 2 5 \\S
Signature of Plaintiff AN, SR Q i) On

Printed Name of Plaintiff q ty rd MA A. ty Syme

B. For Attorneys

Date of signing: NN \ 29 \ \5
Signature of Attorney : \ Women, Ke No

Printed Name of Attorney Cy ds Maun 4H ‘ WW v5 ye vo

Bar Number

 

 

 

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Name of Law Firm

Yao A
Street Address 0.0 % OW \ lo¥ Y

State and Zip Code 1S OA GS oNen , AX 3Y4 23 b
Telephone Number GY (\—3 7s AS S

E-mail Address jw LE BA 2CY Gh 1 Con

 

 

 

 

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